Case 3:12-mj-02547-DEA           Document 149         Filed 11/19/13     Page 1 of 2 PageID: 376


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :       Honorable Douglas Arpert

                       v.                      :       Mag. No, 12-2547 (DA)

JUSTIN RUBLOWITZ

                                                       ORDER FOR CONTINUANCE


       This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney. appearing),

and defendant JUSTII’J RUBLOWITZ (James R. Murphy, Esq., appearing), ftr an order granting

a continuance of the proceedings in the above-captioned matter; and eight continuances having

previously been granted; and the defendant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18

U.S.C. § 3161; and the defendant through his attorney having waived such rights and consented

to the continuance; and for good and sufficient cause shown,

       IT IS THE FINDII’JG OF THIS COURT that this action should be continued for the

following reasons:

               1.    Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

              2.     Defendant has consented to the aforementioned continuance,

              3.     The grant of a continuance will likely conserve judicial resources.

              4.     Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the

       ends of justice served by granting the continuance outweigh the best interests of the

       public and the defendants in a speedy trial.
     Case 3:12-mj-02547-DEA               Document 149             Filed 11/19/13           Page 2 of 2 PageID: 377

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                       WHEREFORE, on this                 day of November. 2013;

                       ORDERED that the proceedings in the above-captionrd matter are continued from

                November 8, 2013 through January 7, 2014; and it is further

                       ORDERED that the period between from November 8, 2013 through January 7, 2014

                shall be excludable in computing time under the Speedy Trial Act of 1974.




                                                      HONJ)OUGLASPERT
                                                      United States Magite Judge




               Fonu and entry
               consented to:

                      1’ /
               J9JATHAN ROMANKOW
               Fssistant US Attorney




                                     Esq
               Counsel for Defendant Justm Rublowftz




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